Exhibit

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United States
Department of
Agriculture

Farm and Foreign
Agricultural
Services

Farm
Service
Agency

Kentucky State

FSA Office

771 Corporate Dr.
Ste. 100

Lexington, KY 40503

Phone: 859-224-7601
Fax: 859-224-7691

Website:
www.fsa.usda.govky

FSA

"Case 3:23-cv-00340
An Equal Opportunity Provider and Emptoyer

USDA
Ss

May 18, 2010

Corey Lea
2307 New Cut Rd
Alverton, Ky 42122

Re: FOIA dated May 5, 2010
Dear Mr. Lea:

This responds to your Freedom of Information Act (FOIA) request dated
May 5, 2010 and assigned control number 21-000-2010-000018.
Please reference this control number in any future communication with
our office about your request.

In response to your request the following determinations have been
made:

1. Protective Advances. Protective advances must constitute a debt
of the borrower to the lender and be secured by the security
instrument. Agency written authorization is required for protective
advances in accordance with the terms and amounts specified by 7
C.F.R. Part 762. Terms and amounts for PLP lenders are included in the
lender's Credit Management System.

Determination: No responsive records

2. Additional Loan or Advances. In cases of a line of credit, the
lender may make an emergency advance when a line of credit has
reached its ceiling and additional funds are needed to prevent an
imminent loss of crops or livestock that would take place if the
emergency advance were not made. The lender must provide Agency
with an analysis as required by Agency regulations.

Determination: No responsive records

3. Future Recovery. After a loan has been liquidated and a final loss
claim has been paid by the Agency, any future funds which may be
recovered from the borrower by the lender, will be pro-rated between
the Agency and the lender.

Determination: No responsive records

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Page 2, Lea May 18, 2010

4, Bankruptcy. The lender is responsible for protecting the
guaranteed loan debt and all collateral securing the loan in
bankruptcy proceedings. Loss payments on bankruptcy cases will be
processed according to the terms described in Agency regulations.

Determination: No responsive records

5. Liquidation. Liquidations must receive prior Agency
concurrence when required by regulations.

Determination: No responsive records

6. Loss Claims. An estimated loss claim must be submitted by the
lender no later than 150 days after the payment due date unless the
account has been completely liquidated and then a final loss claim
must be filed. Interest accrual will cease upon approval of the
estimated loss and never later than 210 days from the payment due
date. Estimated and final loss claims will be processed in accordance
with the terms described in Agency regulations.

Determination: No responsive records

If you believe this determination is incorrect, you may appeal to the
FSA Administrator. The Appeals and Litigation Staff must receive your
written appeal within forty-five (45) days of the date of this
letter/email. Please include in the appeal a brief explanation of why you
believe this decision is in error. Be sure to include a copy of your initial
request letter in your appeal package, and clearly mark both your letter
and its envelope with the words “Freedom of Information Act Appeal.”

Mail your appeal package to the following address:

Administrator

Attn: Appeals and Litigation Staff

United States Department of Agriculture

Farm Service Agency, Stop Code 0570

1400 Independence Avenue SW, Room 6722-S
Washington, DC 20250-0570

Please contact the Marcinda Kester, FOIA Officer if you have any
questions concerning your FOIA request.

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f-5on W. McCauley

State Executive Director

FSA

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Page 2, Lea May 18, 2010

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/onn W. ‘McCauley

State Executive Director

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FSA Loss Claim Page | of 5

Identifying Information

Borrower [D Number 636966522 Name COREY LEA, INC.
Agency Loan Number 50 Geo State/Cnty 21 O14
Loan Type FO Loan Amount $180,000.00
Lender 1D Number 610189494 Branch 002
Name FARMERS NATIONAL BANK

[ Print | [ Cancel |

Transaction Information

Claim Status COMPLETE

Report Type 01 ESTIMATED LOSS (LIQUIDATION)
Claim Type NO PAYMENT ISSUED

Settlement Date 04/23/2009

Payment Type NO CHECK ISSUED

Deposit Date

NAICS Information

Integrator

Code 4 112111-30
Category LIVESTOCK
Description CATTLE - BRDG.
Type COWS

Worksheet References

Loan Amount $180,000.00 Unpaid Principal $177,452.54
Advance Amount $180,000.00 Unpaid Interest $6,275.53
Percent of Guarantee 90 .0000% Closing Date 10/25/2007
Percent of Guarantee Held by Lender 100.0000% Maturity Date 10/25/2012
Status Date 04/23/2009

Existing Interest Rate Information

Guaranteed Rate and Type 6.5000% FIXED
Non-Guaranteed Rate and Type 6.5000% FIXED
Interest Rate Basis 360 DAYS

Current Interest Rate Information

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FSA Loss Claim Page 2 of 5

Guaranteed Rate and Type 6.5000% FIXED
Non-Guaranteed Rate and Type 6.5000% FIXED
interest Rate Basis 360 DAYS
Lender Proposed Agency Approved
Lender Liquidation Information
Payment Due Date 09/25/2008 09/25/2008
Liquidation Plan Approval Date 01/22/2010 01/22/2010
Interest Accrual Termination Date 04/23/2009 04/23/2009

210-day rule special circumstances

Guaranteed Loan Items

Principal Balance
As of

Accrued Interest Owed
As of

TOTAL GUARANTEED LOAN ITEMS

Lender Proposed
$177,452.54
04/23/2009
$6,275.53
04/23/2009
$183,728.07

Protective Advances and Legal Expenses

Legal Expenses
Comments

Lender Proposed
$0.00

Collateral - Current Market Value

Real Estate Property

Real Estate Properly Value

Appraisal Date

Number of Acres
Chattel Property

Crops

Appraisal Date

Livestock

Appraisal Date

Equipment

Appraisal Date

Total Chattel Property

Personal/Corporate Guarantees

Comments
TOTAL COLLATERAL

Lender Proposed
Current Market Value

$274,000.00
10/22/2009
7S

$0.06

$274.000.00

Agency Approved
$177,452.54
04/23/2009
$6,275.53
04/23/2009
$183,728.07

Agency Approved
$0.00

Agency Approved
Current Market Value

$274,000.00
10/22/2009
7151

$0.00

$274,000.00

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PSA Loss Claim Page 3 of 5

Planned Liquidation Costs

Lender Proposed Agency Approved
Appraisals
Auctioneer Expenses $19,180.00 $19,180.00
Repairs
Legal Expenses $10,000.00 $10,000.00
Environmental Cost
Marketing Expense
Other $649.48 $649.48
RE INSURANCE PAID BY
Comments LENDER.
TOTAL LIQUIDATION COSTS $29,829.48 $29,829.48
Prior Liens
Lender Proposed Agency Approved
Real Estate Debts
Total Real Estate Debts $0.00 $0.00
Chattel Property Debts
Crops
Total Crop Debts $0.00 $0.00
Livestock
Total Livestock Debts $0.00 $0.00
Equipment
Total Equipment Debts $0.00 $0.00
Total Chattel Property Debts $0.00 $0.00

Unpaid Taxes, Ground Rents and Assessments

Unpaid Taxes $1,358.84 $1,358.84

Ground Rents

Assessments

Other

Comments

Total Taxes, Rents, etc. $1,358.84 $1,358.84
TOTAL PRIOR LIENS $1,358.84 $1,358.84
Adjustments
Lender Proposed Agency Approved

Adjustments to Basic Loss
Amount of Funds Being Held
Source
Income to be Applied to Debt
Source

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FSA Loss Claim Page 4 of 5

Debt Payment Ability (Present Value)
Source

Other Deductions
Negligent Servicing
Comments
Unaccounted Collateral Amount
Comments

Oiher
Comments

Other
Comments

Other
Comments

New Loan Balance
(Court ordered of Negotiated by Lender)
TOTAL ADJUSTMENTS $0.00 $0.00

Claim Calculation and Disposition

Lender Proposed Agency Approved

Total Guaranteed Loan Items $183,728.07 $183,728.07
Total Protective Advances $0.00 $0.00
Legal Expenses $0.00 $0.00
Total Collateral (Current Market Value) $274,000.00 $274,000.00
Total Prior Liens/Liquidation Costs $31,188.32 $31,188.32

Net Collateral $242,811.68 $242,811.68
Total Adjustments $0.00 $0.00
BASIC LOSS $0.60 $0.00
Percent of Loss Guarantee 90.0000% 90.0000%
MAXIMUM LOSS $0.00 $0.00
Protective Advance Payment $0.00 $0.00
Legal Expenses Payment
Remaining Balance Loss Guarantee $0.00 $0.00
AMOUNT DUE LENDER $6.00 $0.00
Balance Due Lender $0.00 $0.00
Principal Portion of Loss Claim $60.00 $0.00
Additional Interest on Principal Portion $0.00 $0.00
TOTAL AMOUNT DUE LENDER $0.00 £0.00

Claim Review and Approval
Lender Submission

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